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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    No. 21-cr-628-ABJ
                                     :
v.                                   :
                                     :
MICHAEL ANGELO RILEY,                :
                                     :
            Defendant.               :
                                     :
____________________________________:

                             JOINT MOTION TO CONTINUE TRIAL

        The parties, through their respective undersigned counsel, respectfully move this Court for

an Order continuing the trial presently scheduled for September 19, 2022 (and corresponding

pretrial dates) and state as follows:

        1.        On February 24, 2022, this Court issued an Order setting a jury trial in this matter

for September 19, 2022, with a pretrial conference scheduled for September 15, 2022. On May 2,

2022, this Court issued a Pretrial Scheduling Order that required a Joint Pretrial Statement to be

filed in this matter on or before September 1, 2022.

        2.        Upon review of the Court’s docket, another jury trial is set to proceed before the

Court on September 19, 2022 for a defendant held without bond. See United States v. Green, 20-

cr-0222-ABJ.

        3.        The parties have conferred and would respectfully request that the Court hold a

status conference to select a new trial date and that in the interim, the Court vacate the previously

scheduled trial and pretrial conference dates and deadline for submission of a Pretrial Statement

in this matter.
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       4.      While the pendency of the Government’s motion in limine (D.E. 39) has tolled the

running of the Speedy Trial Act, the Defendant otherwise consents to the exclusion of time

between the present date and the setting of a new trial date.

       5.      Accordingly, the parties respectfully request that the Court grant their joint motion

and enter their proposed Order that accompanies the motion.

Dated: August 3, 2022                         Respectfully submitted,

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